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ASHEVILLE, ME
UNITED STATES DISTRICT COURT FOR THE OCT 07 2014
WESTERN DISTRICT OF NORTH CAROLINA
ASHEVILLE DIVISION: US. DISTRICT

WESTERN DISTRICT NC

UNITED STATES OF AMERICA ) DOCKET NO, 1:14 cR9AD
) BILL OF INDICTMENT

v )
)
) Violation:

PAUL CORBI +) 21 USC § 841(a)(1) ©
)

THE GRAND JURY CHARGES:

_ On or about July 18, 2014, in Buncombe County, within the Western District of North
Carclina, and elsewhere,

PAUL CORBI

did knowingly and intentionally possess with the intent to distribute methamphetamine, a
Schedule II controlled substance,

1, Said offense involved at least five grams of actual methamphetamine.
All in violation of Title 21, United States Code, Section 841(a)(1).

NOTICE OF FORFEITURE

Notice is hereby given of 21 U.S.C, § 853. The following property is subject to forfeiture
in accordance with Section 853:

a. All property which constitutes or is derived from proceeds of the violation set
forth in this bill of indictment;

b. All property used or intended to be used in any manner or part to commit or
facilitate such violation; and

c If, as set forth in 21 U.S.C, § 853(p), any property described in (a) or (b) cannot be
located upon the exercise of due diligence, has been transferred or sold to, or
deposited with, a third party, has been placed beyond the jurisdiction of the court,

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has been substantially diminished in value, or has been commingled with other
property which cannot be divided without difficulty, all other property of the
defendant to the extent of the value of the property described in (a) and (b).

The Grand Jury finds probable cause to believe that the following property is subject to
forfeiture on one or more of the grounds stated above:

1. Approximately $3,130 in United States currency seized during a traffic
stop in the vicinity of 2345 U.S, 70 Hwy. in Swannanoa, North Carolina
on July 18, 2014.

ANNE M. TOMPKINS
UNITED STATES ATTORNEY

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THOMAS M, KENT
ASSISTANT UNITED STATES ATTORNEY

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